                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                        )
                                                )
        v.                                      )       No. 3:15-000066
                                                )       Judge Sharp
[5] RICKY THOMPSON                              )

                                               ORDER

        Defendant Ricky Thompson has filed a Motion to Dismiss for Improper Venue (Docket No.

225). That Motion is directed to Count Three of the Third Superseding Indictment which alleges

that, “[o]n or about March 2, 2016, in the Middle District of Tennessee and elsewhere, [5] RICKY

THOMPSON, a/k/a BOOM, a/1-/a BIG HOMIE, a/k/a UNC, knowingly possessed firearms in

furtherance of a drug trafficking crime for which he may be prosecuted in a court of the United

States, to wit: conspiracy to distribute and possess with the intent to distribute controlled substances,

in violation of Title 21, United States Code, Sections 841(a)(1) and 846.” (Docket No. 178 at 3).

        Defendant claims that, through discovery, he has learned that he is alleged to have possessed

the weapon in Ohio, not the Middle District of Tennessee where the alleged conspiracy is said to

have been centered, and that “[n]othing in the discovery in this case indicates that Thompson ever

physically entered the Middle District of Tennessee during the course of this alleged conspiracy –

no matter what the time frame.” (Docket No. 225 at 4). He also argues that the arrest of co-

defendants Rupley and Gilligan in March of 2015 “ended the drug distribution alleged in this district

and therefore ended the conspiracy alleged by the Government” and that “[t]he only basis for

expanding the conspiratorial period is [a] letter allegedly authored by Gilligan” (id. at 5) in which

he writes about sending his “baby momma the discovery” who, in turn, was “supposed to take it to


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unc,” (Docket No. 225-1).

       To be fair, the Court notes that counsel for Thompson conceded at the status conference on

February 22, 2017, that the conspiracy may be broader that he envisioned when he filed the Motion,

and the Government’s response seems to suggest as much. There, the Government writes that it

       anticipates introducing evidence at trial showing that venue for the § 924(c)(1)
       charge exists in the Middle District of Tennessee because the underlying drug
       conspiracy, which is grounded on the distribution of narcotics in the Middle District
       of Tennessee, was ongoing at the time the defendant was found in possession of
       firearms. Specifically, the United States submits that witness testimony and records
       of communications between witnesses will show that the defendant’s charged
       co-conspirator, Derek Gilligan, continued trying to warn the defendant of the status
       of the ongoing federal investigation into the drug conspiracy by sending the
       defendant “discovery” before the defendant was found in possession of firearms, that
       the defendant was utilizing the fruits of the conspiracy, including a white Cadillac,
       at or around the time he was found in possession of firearms, and that the defendant,
       after he was found in possession of firearms, sought to intimidate witnesses due to
       testify in front of a federal grand jury about the alleged conspiracy. Moreover, the
       United States anticipates that Thompson’s primary source of heroin supply will
       testify that (s)he provided Mr. Thompson heroin from at least June 1, 2014, and
       continually supplied substantial quantities of heroin to Mr. Thompson, uninterrupted,
       until the time of Mr. Thompson’s arrest and that Mr. Thompson confided that he was
       anxious because Mr. Gilligan and Mr. Rupley had been arrested in Tennessee with
       his heroin.

(Docket No. 228 at 1-2, emphasis in original).

       “‘Venue is proper in the state or district where the offense was committed,’” and “‘where

a crime consists of distinct parts which have different localities the whole may be tried where any

part can be proved to have been done.’” United States v. Kuehne, 547 F.3d 667, 677 (6th Cir. 2008)

(citations omitted). “Thus, ‘[v]enue may be had in more than one location’” Id. Except “when the

evidence establishing venue is very clear or uncontradicted,” in which case “the district court may

resolve the issue as a matter of law,” proper “venue ordinarily is a question of fact for the jury.”

United States v. Jaber, 509 F.3d 463, 466 (8th Cir. 2007). Furthermore, where, as here, it is alleged


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that a gun was used during a drug trafficking conspiracy, venue is proper in any district where the

conspiracy was formed or where an overt act in furtherance of the conspiracy took place. Kuehne,

547 F.3d at 677.

       Given the Government’s representation about the anticipated evidence, the Court cannot find

as a matter of law that venue is improper simply because the gun or guns underlying the charge in

Count Three were found in Toledo, Ohio. As such, Defendant Thompson’s “Rule 12(b)(3) Motion

to Dismiss Count 3 of the Indictment for Improper Venue” (Docket No. 225) is DENIED.

       It is SO ORDERED.


                                                     ______________________________________
                                                     KEVIN H. SHARP
                                                     UNITED STATES DISTRICT JUDGE




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